Case 1:22-cr-00208-RMR Document 48 Filed 11/17/22 USDC Colorado Page 1 of 8




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                            Judge Regina M. Rodriguez



Criminal Case No. 22-cr-00208-RMR-1

UNITED STATES OF AMERICA,

        Plaintiff,

v.

JOSE GALIANO,
     a/k/a JOSE GALIANO APAZA,

        Defendant.


     ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTION
     FOR AN ENDS OF JUSTICE CONTINUANCE OF TRIAL AND RELATED DATES


        This matter is before the Court on Defendant Jose Galiano’s Motion for an Ends

of Justice Continuance of Trial and Related Dates, ECF 43. Defendant asks this Court for

an order excluding 90 days from the Speedy Trial Calculation and for continuance of the

trial date and deadline to file motions. The government filed a Response in Opposition to

Defendant’s Motion, ECF 45, wherein it asks the Court to maintain the existing trial date

and deadlines. For the following reasons, the motion for continuance of the trial date is

GRANTED IN PART. To the extent the motion requests continuance of pretrial motion

deadlines, the motion is DENIED.

        The Defendant’s motion implicates the Speedy Trial Act of 1974, which is

“designed to protect a defendant’s constitutional right to a speedy indictment and trial,
Case 1:22-cr-00208-RMR Document 48 Filed 11/17/22 USDC Colorado Page 2 of 8




and to serve the public interest in ensuring prompt criminal proceedings.” United States

v. Hill, 197 F.3d 436, 440 (10th Cir. 1999). The Act requires that a defendant’s trial

commence within 70 days after his indictment or initial appearance, whichever is later.

See 18 U.S.C. § 3161(c)(1). Certain periods of delay are excluded and do not count

toward the 70-day limit. See 18 U.S.C. § 3161(h)(1)–(8).

       The Speedy Trial Act provides, in pertinent part:

       The following periods of delay shall be excluded . . . in computing the time
       within which the trial of any such offense must commence:

       ....

       (7)(A) Any period of delay resulting from a continuance granted by any
       judge . . . at the request of the defendant or his counsel or at the request
       of the attorney for the Government, if the judge granted such continuance
       on the basis of his findings that the ends of justice served by taking such
       action outweigh the best interest of the public and the defendant in a speedy
       trial.

18 U.S.C. § 3161(h)(7)(A).

       In order for a continuance to qualify as an excludable “ends of justice” continuance

under § 3161(h)(7)(A), certain prerequisites must be satisfied. Hill, 197 F.3d at 441. First,

the Court must consider the following factors listed in § 3161(h)(7)(B):

       (i)     Whether the failure to grant such a continuance in the proceeding
               would be likely to make a continuation of such proceeding
               impossible, or result in a miscarriage of justice.
       (ii)    Whether the case is so unusual or so complex, due to the number of
               defendants, the nature of the prosecution, or the existence of novel
               questions of fact or law, that it is unreasonable to expect adequate
               preparation for pretrial proceedings or for the trial itself within the time
               limits established by [the Act].
       (iii)   Whether, in a case in which arrest precedes indictment, delay in the
               filing of the indictment is caused because the arrest occurs at a time
               such that it is unreasonable to expect return and filing of the

                                                2
Case 1:22-cr-00208-RMR Document 48 Filed 11/17/22 USDC Colorado Page 3 of 8




              indictment within the period specified in section 3161(b), or because
              the facts upon which the grand jury must base its determination are
              unusual or complex.
       (iv)   Whether the failure to grant such a continuance in a case which,
              taken as a whole, is not so unusual or so complex as to fall within
              clause (ii), would deny the defendant reasonable time to obtain
              counsel, would unreasonably deny the defendant or the Government
              continuity of counsel, or would deny counsel for the defendant or the
              attorney for the Government the reasonable time necessary for
              effective preparation, taking into account the exercise of due
              diligence.

18 U.S.C. § 3161(h)(7)(B).

       After considering these factors, the Court must then set forth, “in the record of the

case, either orally or in writing, its reasons for finding that the ends of justice served by

the granting of such continuance will outweigh the best interests of the public and the

defendant in a speedy trial.” Hill, 197 F.3d at 441; 18 U.S.C. § 3161(h)(7)(A). Although

the Court’s findings “may be entered on the record after the fact, they may not be made

after the fact.” Hill, 197 F.3d at 441 (quoting United States v. Dorian, 882 F.2d 1511, 1516

(10th Cir. 1989)). “Instead, ‘[t]he balancing must occur contemporaneously with the

granting of the continuance because Congress intended that the decision to grant an

ends-of-justice continuance be prospective, not retroactive[.]’” Id. (quoting Dorian, 882

F.2d at 1516).

       Defendant is charged with a single count of Aggravated Sexual Abuse in violation

of Title 18, United States Code, Section 2241(a)(1). See ECF 1. Pursuant to the

scheduling order established July 11, 2022, the Court set October 24, 2022, as the

deadline for filing pretrial motions and set trial for December 5, 2022. ECF 17. Defendant

subsequently filed a motion for disclosure of medical records, ECF 22, and a motion to


                                             3
Case 1:22-cr-00208-RMR Document 48 Filed 11/17/22 USDC Colorado Page 4 of 8




suppress, ECF 26. The government responded to both motions. ECF 29, 31. On

November 10, 2022, the Court entered an Order denying the motion for disclosure of

medical records and set the motion to suppress for evidentiary hearing on November 17,

2022. ECF 35–36. On November 14, 2022, Michon Hughes entered her appearance as

co-counsel for Defendant and filed the instant motion for an ends of justice (“EOJ”)

continuance the same day. ECF 42–43. Based upon counsel’s representations that lead

defense counsel, Mark Scabavea, was unable to proceed with the November 17

evidentiary hearing due to illness, the Court vacated that hearing and rescheduled it for

November 21, 2022. See ECF 46.

       As the basis for the instant EOJ motion, Ms. Hughes cites to lead counsel’s sudden

illness and alleged outstanding discovery issues. ECF 43 at 4–6. Specifically, Ms. Hughes

represents that Mr. Scabavea has fallen severely ill and may require hospitalization. Id.

at 4. Consequently, Ms. Hughes states that she is not prepared to try this case on

December 5 and needs additional time “to properly review and analyze all of the discovery

and investigative materials in this matter, interview and prepare necessary witnesses, and

obtain additional discovery that is necessary for his defense.” Id. Counsel further asserts

that more time is needed to resolve apparent discovery deficiencies and file necessary

motions. Id. at 4–5.

       Pretrial Motion Deadlines

       In its Response, the government first argues that Defendant has not established

good cause for reopening the motions deadline three weeks after it expired on October




                                            4
Case 1:22-cr-00208-RMR Document 48 Filed 11/17/22 USDC Colorado Page 5 of 8




24, and that the Court should therefore decline to consider any untimely pretrial motions.

ECF 45 at 2. The Court agrees.

       Pursuant to Fed. R. Crim. P. 12(c)(1), the Court may set a deadline by which the

parties must make all pretrial motions. Rule 12(c)(3) provides that a motion filed after

such deadline is untimely and may only be considered if good cause is shown for why

such deadline was missed. Fed. R. Crim. P. 12(c)(3) (“If a party does not meet the

deadline for making a Rule 12(b)(3) motion, the motion is untimely. But a court may

consider the defense, objection, or request if the party shows good cause.”); see also

United States v. Bowline, 917 F.3d 1227, 1230 (10th Cir. 2019) (“[Rule 12] clearly

provides only one circumstance in which an untimely motion can be considered—when

the movant ‘shows good cause.’”).

       Defendant offers no explanation for his purported inability to abide by the Court-

imposed motions deadline or his failure to seek an extension of that deadline before it

passed. The Court’s published deadlines are not suggestions, and parties disregard such

deadlines at their peril. The Court has both a right to expect from the parties adherence

to its orders and an interest in ensuring the orderly administration of its docket. See United

States v. Trobee, 551 F.3d 835, 838 (8th Cir. 2009) (“Courts have a legitimate interest in

the enforcement of scheduling deadlines, both to manage a pending case and to retain

the credibility of these deadlines in future cases.”). When a party allows a deadline to

pass and then seeks retroactively to have it extended, the Court will not revisit the

deadline absent an adequate showing of good cause. The request to continue the

discovery deadlines and pretrial motion deadlines is DENIED.


                                              5
Case 1:22-cr-00208-RMR Document 48 Filed 11/17/22 USDC Colorado Page 6 of 8




       Continuance of Trial

       As to the requested exclusion of 90 days and associated continuance of the trial

setting, the government argues that Defendant’s asserted grounds are insufficiently

specific to warrant a continuance, and that delaying the trial will prejudice the government.

ECF 45 at 8–9. The Court agrees that it is difficult to discern from the available record

precisely what defense counsel’s current situation is, including whether counsel anticipate

that Mr. Scabavea will remain on the case, and what trial preparations have already taken

place. Nonetheless, in an abundance of caution and to avoid any prejudice to Defendant,

the Court accepts counsel’s representations concerning Mr. Scabavea’s sudden illness

and unavailability, and accordingly finds that failure to grant a continuance would deprive

defense counsel of the reasonable time necessary for effective preparation and result in

a miscarriage of justice.

       The Court is mindful of the government’s need to coordinate travel for key

witnesses, as well as its concerns regarding the future availability of certain witnesses

and the risk of fading memories. The Court also weighs the public’s interest in ensuring

prompt criminal proceedings. Under the circumstances set forth in Defendant's motion,

however, the Court believes that granting a short continuance strikes the proper balance

between these competing interests. Defendant’s need to have a fully prepared attorney

tips the balance in favor of a short continuance of the trial setting. At the same time, the

Court is not convinced that a three-month extension is justified based on the current

record. The Court finds that an additional 70 days is sufficient but not greater than

necessary to adequately prepare this case for trial and should therefore be excluded from


                                             6
Case 1:22-cr-00208-RMR Document 48 Filed 11/17/22 USDC Colorado Page 7 of 8




the Speedy Trial Act for these purposes. The request for continuance is GRANTED IN

PART.

        Having considered the factors under § 3161(h)(7)(B) and the circumstances set

forth in Defendant’s motion and the government’s response, the Court finds that the need

for additional time is warranted, and a miscarriage of justice would result absent the

continuance. See 18 U.S.C. § 3161(h)(7)(B)(i), (iv). As required by 18 U.S.C.

§ 3161(h)(7)(C), the Court has not predicated its ruling on congestion of the Court’s

calendar or lack of diligent preparation by counsel.

        Accordingly, the court FINDS that:

        (1) Failure to grant a continuance of trial beyond the time prescribed by 18 U.S.C.
            § 3161(c) would likely result in a miscarriage of justice, within the meaning of
            18 U.S.C. § 3161(h)(7)(B)(i);

        (2) Even considering due diligence, failure to grant the motion would deny counsel
            for Defendant the reasonable time necessary for effective trial preparation
            within the meaning of 18 U.S.C. § 1361(h)(7)(B)(iv); and

        (3) Therefore, the ends of justice served by granting the motion outweigh the best
            interests of the public and Defendant in a speedy trial within the meaning of 18
            U.S.C. § 3161(h)(7)(A).


IT IS HEREBY ORDERED THAT:


        (1) Defendant’s Motion, ECF 43, is GRANTED IN PART and DENIED IN PART;

        (2) The request to continue the discovery deadlines and pretrial motion deadlines
            is DENIED.

        (3) The 70-day clock, exclusive of tolled time, shall accordingly be extended
            from December 5, 2022, to February 13, 2023;




                                             7
Case 1:22-cr-00208-RMR Document 48 Filed 11/17/22 USDC Colorado Page 8 of 8




      (4) The current trial date and attendant deadlines are hereby VACATED. The Five-
          day jury trial is reset for February 6, 2023. The Trial Preparation
          Conference/Change of Plea Hearing is reset for January 23, 2023, at 3:30 PM;



      DATED: November 17, 2022.

                                              BY THE COURT:



                                              _____________________________
                                              REGINA M. RODRIGUEZ
                                              United States District Judge




                                          8
